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        DISCORD
        PRIVACY POLICY
        Effective: March 28, 2022
        Last Updated: February 25, 2022

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           14. Changes to this Privacy Policy

           15. Contact us




        Welcome!
        This Privacy Policy explains how we collect, use, store, protect, and share your personal
        information through our services. If you reside in the European Economic Area (“EEA”) or United
        Kingdom, Discord Netherlands BV is the “data controller” of your personal information collected
        through the services (as defined in our Terms of Service). For everyone else, Discord Inc. is the
        data controller. It’s important that you read this entire policy, but here’s a summary to get you
        started:


              We care a lot about privacy. We are committed to creating spaces where people can come
              together and find belonging. Respecting user privacy is a key part of that mission.

              We don’t sell your data. Our business is based on subscriptions and paid products.

              We limit what information is required. We require the information that enables us to create
              your account, provide our services, meet our commitments to our users, and satisfy our legal
              requirements. The rest is optional.

              We care deeply about safety. Our dedicated Trust & Safety team works hard to help keep our
              community safe. We also use certain information to help us identify violations of our
              Community Guidelines and prevent harmful content from being distributed through the
              services.

              We give you control. We give you the ability to control your privacy on Discord.




        Discord is your place to talk
        We built Discord to be your place to talk. Whether you’re part of a club, gaming group, worldwide
        art community, or just a handful of friends that want to spend time together, Discord makes it easy
        to talk every day and hang out more often.



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        Our “services” has the same meaning as defined in the Terms of Service. They include the Discord
        app, which can be accessed on mobile, web, desktop, console, or even a connected home
        appliance—any device with a web browser and internet connection. We also have a website, blog,
        and support center, and we may collect your information through other means like surveys, emails,
        and social media.


        As explained in our Terms of Service, we allow users to add content to the services in a number of
        different ways, including via direct messages and in smaller and larger communities. Some of these
        spaces are public, and if you share content within them, that content may be accessed by many
        people, including people you do not know. For example, some servers are available in the Server
        Discovery section of the app and do not require an invite link to join. Other server owners may
        publish their server invite link on public websites. Anyone can access these servers, and you
        should be aware that server owners or admins set these permissions, and like the size of a server,
        the permissions may change over time.


        We may also use content posted in public spaces to help power features like Server Discovery and
        to help us identify harmful content on the services. These features are important to us, and we
        believe they will make Discord even better for our users. We will always try to let you know what
        spaces are public within Discord (though we don’t control where invite links are shared or the
        permissions for that server). And you can control whether your content is used for these purposes
        as described in the “How to control your privacy” section below. You should take all of this into
        account when you are using our services, and choose the space, features, and settings that are
        most appropriate for your content.


        We make money from paid subscriptions and the sale of digital (and sometimes physical) goods,
        not from selling your personal information to third parties.




        The information we collect
        We collect certain information when you use Discord. This includes information you provide to us,
        information we collect automatically, and information we receive from other sources.



        Information you provide to us

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              Account information. When you create a Discord account, you can come up with a username
              and password, and provide a way of contacting you (such as an email address and/or phone
              number). You’ll also need to provide your birthday. To access certain features or communities,
              you may need to verify your account or add other information (like a verified phone number) to
              your account. You may also have the option to add your name or nicknames.

              Content you create. This includes any content that you upload to the service. For example, you
              may write messages (including drafts), create custom emojis, or upload and share files through
              the services. This also includes your profile information and the information you provide when
              you create servers. We generally do not store the contents of video or voice calls or channels. If
              we were to change that in the future (for example, to facilitate content moderation), we would
              disclose that to you in advance. We also don’t store streaming content when you share your
              screen, but we do retain the thumbnail cover image for the stream for a short period of time.

              Purchase information. If you buy any paid services through Discord, you may need to submit a
              valid payment method and associated billing information, including your full name and billing
              address. Our payment processors, like Stripe and PayPal, receive and process your payment
              information. Depending on the processor, we may also receive and store certain billing
              information, including the last four digits of the credit card number associated with the
              transaction. If we decide to process our own payments in the future, we would receive and
              process this information ourselves.

              Information from actions you take. We collect information about your use of and activities on
              the services. This includes the friends you add, the servers or other communities you join, your
              roles in servers, content moderation decisions you make, and other related actions.

              Information used to enable optional features. Certain features, like contact syncing, may
              require that you provide additional information (or grant us access to such information) to
              make them work. This also includes information about third party integrations you choose to
              enable and the data you authorize those third party services to share with us. For example,
              when you link a music streaming account, we may collect information about that account such
              as the song you are listening to in order to display that information on your profile or as your
              status (if you have chosen to do so).

              Other information you provide directly to us. You may have the option to submit additional
              information as you use Discord. For example, you may choose to participate in our verified
              server program, which requires that you provide additional information about yourself or your


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              company. Or, you may participate in surveys where you can provide feedback on the product,
              or submit information to our Discord Support teams.




        Information we collect automatically

        We also collect information automatically from you when you use Discord. This includes:


              Information about your device. We collect information about the device you are using to
              access the services. This includes information like your IP address, operating system
              information, browser information, and information about your device settings, such as your
              microphone and/or camera.

              Information about your use of the apps or websites. We collect log and event information
              related to how and when you use our services (such as the pages, servers, and channels you
              visit).

              Other information that we collect automatically. When you take certain actions on other
              sites, we may receive information about you. For example, when we advertise for Discord on
              third party platforms, if you click on the ad, we may receive information about which ad you
              saw and on which platform. Similarly, we may also receive certain information when you click
              on a referral link, such as which website you came from.

        We may receive information from cookies (small text files placed on your computer or device) and
        similar technologies. First-party cookies are placed by us (and our third-party service providers)
        and allow you to use the services and to help us analyze and improve your experience and the
        services. You can control cookies as described in the “How to control your privacy” section below.
        The services use the following types of cookies:


              Strictly Necessary Cookies: These are required for services to function. If you try to use tools
              to disable these cookies, parts of the services may not work properly.

              Functional Cookies: These help us provide enhanced functionality on the services like
              remembering language preferences. Disabling these could affect some service functionality.

              Performance Cookies: These allow us or our third-party analytics providers to learn how you
              and others use and engage with the services so we can understand and improve them.

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        Information we receive from other sources

        We may receive information about you from other sources, including from other users and third
        parties, and combine that information with the other information we have about you. For example,
        if you interact with our social media account on another platform, we may receive certain
        information about you like your username on that platform.




        How we use your information
        We use your information for the following purposes:


        ‍To fulfill our contract with you


              To provide you with the services. We use your information to provide you with the Discord
              services. For example, when you start a video call, we process your images and audio to make
              that work. We similarly collect and store the messages you send and display them as you
              direct. We also use the information you provide to us to create and manage your account and
              to facilitate purchases. When you enable optional features (like connecting your Discord
              account to other platforms), we use information from those services to power the feature (like
              displaying what song you are listening to on another service within the Discord app).

              To meet our commitments to the Discord community. We work hard to try to make Discord a
              safe, positive, and inclusive place. To do so, we use your information to monitor for and take
              action against users and content that violate our Terms of Service, Community Guidelines, and
              other policies. This includes responding to user reports, detecting fraud and malware, and
              proactively scanning attachments and other content for illegal or harmful content. We also use
              certain information, which may include content reported to us and public posts, to develop
              and improve systems and models that can be automated to more swiftly detect, categorize,
              and take action against prohibited content or conduct.

              To personalize the product. We use your information to provide, personalize and improve our
              services. This information powers our discovery surfaces (so that you see relevant
              communities or content first), and it helps us surface Discord features and promotions from us
              and our partners that may be of interest to you. As discussed in the “How to control your

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              privacy” section below, you can choose whether to allow us to personalize your Discord
              experience.

              To contact you. We use your information to contact you in connection with your account, such
              as to verify or secure it with two-factor authentication. We may also use your information to
              contact you about important product or policy changes, to send you information about
              products you have purchased, or just to let you know about new products or features we think
              you’ll like. You may opt-out of receiving marketing communications. Where local law requires,
              we will obtain your consent before sending such communications.

              To provide customer service. We use your information to respond to your questions about our
              products and services, and to investigate bugs or other issues.

        For our legitimate business interests


              To protect our services. We use information to keep our services secure, to prevent misuse,
              and to enforce our Terms of Service and other policies against users who violate them.

              To report on our company’s performance. We use your information to track the fundamental
              metrics of our business, to perform financial reporting, to respond to regulatory obligations,
              and to debug billing issues.

              To improve our services. We use your information to help us understand how users interact
              with our services, what features or products users may want, or to otherwise understand and
              improve our services. This includes information about how you use our services and how
              servers are structured. We may also use public posts to better understand, for example, what
              topics public servers cover and what content is most interesting within those servers. As
              discussed in the ”How to control your privacy” section below, you can control whether your
              data is used for these purposes.

              To advertise our services on other platforms. We are proud of the product we've built and
              spend money advertising it on other platforms in order to bring more users to Discord. As part
              of that, we use certain information to assist in the delivery of our advertising, to measure the
              effectiveness of advertisements for our own products, and to improve such advertisements in
              the future.

        To comply with our legal obligations




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        We retain and use your information in connection with potential legal claims when necessary and
        for compliance, regulatory, and auditing purposes. For example, we retain information where we
        are required by law or if we are compelled to do so by a court order or regulatory body. Also, when
        you exercise any of your applicable legal rights to access, amend, or delete your personal
        information, we may request identification and verification documents from you for the purpose of
        confirming your identity.


        ‍With your consent

        ‍We may also collect and use personal information with your consent. You can revoke your consent
        at any time (mostly through our services directly), though note that you might not be able to use
        any service or feature that requires collection or use of that personal information.

        ‍To protect someone’s vital interests


        We may collect or share personal data if we think someone’s life is in danger—for example, to help
        resolve an urgent medical situation.




        How we share your information
              When you tell us to. When you add your content to the services, you are telling us to share
              that content with certain communities, people, or in the case of public spaces, with anyone
              who accesses it. Who can access that information is determined by who can access a
              particular community. Server owners or admins set those permissions, and they control
              whether a server requires an invite link or is open and accessible to anyone. And these
              permissions, like the size of the server, may change over time. Similarly, if you link your Discord
              account with a third-party service (like a music-streaming service) or participate in a server
              that has third-party features like bots enabled, you may be telling us to share certain
              information with that service, or with other Discord users. You can control this sharing as
              described in the "How to control your privacy" section below. We may also share your
              information as you otherwise instruct us or provide us your consent to do so.

              With our vendors. We may share information with vendors we hire to carry out specific work
              for us. This includes payment processors like Stripe and PayPal that process transactions on
              our behalf and cloud providers like Google that host our data and our services. We may also
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              share limited information with advertising platforms to help us reach people that we think will
              like our product and to measure the performance of our ads shown on those platforms. We do
              this to help bring more users to Discord, and provide only the information required to facilitate
              these services. This may include information like the fact that you installed our app or
              registered to use Discord.

              To comply with the law. We may share information in response to a request for information if
              we believe disclosure is required by law, including meeting national security or law
              enforcement requirements. Where allowed and feasible, we will attempt to provide you with
              prior notice before disclosing your information in response to such a request. Our
              Transparency Report has additional information about how we respond to requests from
              governments and law enforcement entities.

              In an emergency. We may share information if we believe in good faith that it's necessary to
              prevent serious harm to a person.

              To enforce our policies and rights. We may share information if needed to enforce our Terms
              of Service, Community Guidelines, or other policies, or to protect the rights, property, and
              safety of ourselves and others.

              With our related companies. We may share information with our related companies, including
              parents, affiliates, subsidiaries, and other companies under common control and ownership.

              Sale, Acquisition, or Transfer of Assets. We may share information if Discord is evaluating
              and/or engaging in a merger, acquisition, reorganization, bankruptcy, or sale, transfer, or
              change in ownership of Discord or any of its assets.

              Aggregated or de-identified information. We may share information about you that has been
              aggregated or anonymized such that it cannot reasonably be used to identify you. For example,
              we may share aggregated user statistics in order to describe our business to partners or the
              public.




        Data retention
        We retain personal information for as long as it is needed for the purposes for which we collected
        it. If your account is inactive for more than two years, we may delete it, and we may delete or
        anonymize any personal information associated with your account.


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        If you submit an ID for an age verification appeal, we will delete it within sixty days after the age
        appeal ticket is closed.




        How we protect your information
        We take a number of steps to help protect your information. All information sent within our
        services is encrypted both in transit and at rest. For example, we use Transport Layer Security
        (“TLS”) to encrypt text and images in transit. We also enforce technical and administrative access
        controls to limit which of our employees and contractors have access to nonpublic personal
        information. You can help maintain the security of your account by configuring two-factor
        authentication.




        How to control your privacy
        We believe that users should be able to tailor their Discord experience to their preferences,
        including privacy. And while local laws may require different things, we believe that our users
        should have the same basic ability to shape their experience no matter where they are in the
        world. Here’s how you can control how we process your information and how to request access to
        your information:

        ‍Be aware of the Discord spaces you choose to participate in


        You can always choose what communities to participate in and what information you add to our
        services. You can choose what messages to send or post, who to engage with (e.g., one or more
        particular users or a potentially unlimited group of users), what information to include in your
        profile, whether to connect any third party services to your Discord account, and more. For
        example, if you share content in public spaces, it may be accessed by anyone. Public content may
        also be subject to fewer restrictions under your local laws.

        ‍Customize your personal Discord settings


        We offer a number of settings that allow you to tailor your experience within Discord. Some of
        these relate to specific features: for example, you can choose whether to display your current

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        activity in your status via the Activity Status tab in your User Settings page (this is the gear icon
        next to your name).


        You can also access privacy-specific settings in the Privacy & Safety section of your User Settings.
        For example, you can decide which types of direct messages are scanned for explicit content, who
        can add you as a friend, and more. This is also where you can restrict certain types of processing
        of your information:


              Restrict our ability to use your data to improve our products. If you turn off the “Use data to
              improve Discord” setting, we will stop collecting and using certain event and log information to
              help us understand how users use our services, what features or products they may want, or to
              otherwise improve our services.

              Restrict our ability to personalize Discord for you. If the “Use data to customize my Discord
              experience” setting is disabled, we will stop collecting and using certain event and log
              information to help us offer you relevant recommendations for in-app content and features.

        You can also disable or delete your account via the “My Account” tab on the settings page.
        Disabling your account stops the processing of new data, but allows you to reactivate your account
        without interruption to you. Deleting your account permanently deletes identifying information
        and anonymizes other data.

        Manage your content and servers


        You may edit or erase specific pieces of information within the services:


              You can edit or delete any message you have sent or content you have posted if you still have
              access to the space where you posted it.

              You can edit or delete a Discord server if you have the permissions needed to do so.

              You can edit or delete a channel from a Discord server if you have the permissions needed to
              do so.

        Public posts may be retained by Discord for use as described elsewhere in this policy. Also, in
        limited circumstances, we may have a legal obligation to retain certain information, even if you
        delete the information or your account.



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        If you want to see what information we have collected about you, you can request a copy of your
        data by selecting Request Data in the Privacy & Safety section of your User Settings. You should
        receive your data packet within 30 days. Data is delivered in common digital formats including
        CSV, JSON, and any other file format you used when uploading attachments to the services.



        Manage cookies

        To control how information is collected and used from cookies on the services, you can take one or
        more of the following steps.


              You can disable and manage some cookies through your browser settings. You will need to
              manage your settings for each browser you use. You can find instructions for how to manage
              Cookies in popular browsers such as Internet Explorer, Firefox, Chrome, Safari (iOS), Safari
              (Mac), and Opera.

              To disable analytics cookies, you can use the browser controls discussed above or, for certain
              providers, you can use their individual opt-out mechanisms, such as Google Analytics Opt-Out.

              Your mobile device may also include browser settings to manage the use of cookies. Your
              device may also have settings to control the collection and use information in your apps.

              Third party groups also enable you to limit how cookies are used for advertising purposes by
              participating third parties. You can learn more at Network Advertising Initiative, the Digital
              Advertising Alliance, and for users in the EU, the European Interactive Digital Advertising
              Alliance.

              Depending on where you are accessing our services, you may be able to adjust your cookie
              preferences at any time through a cookies banner or by selecting “Cookie Settings” from the
              footer or menu on our website.

        If you disable or remove cookies, some parts of the services may not function properly. Information
        may be collected to remember your opt-out preferences.

        Questions or concerns about your privacy? You can email us at privacy@discord.com.




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        International data transfers
        We are based in the United States, and we process and store information on servers located in the
        United States. We may also store information on servers and equipment in other countries
        depending on a variety of factors, including the locations of our users and service providers. These
        data transfers allow us to provide our services to you. By accessing or using our services or
        otherwise providing information to us, you understand that your information will be processed,
        transferred, and stored in the U.S. and other countries, where different data protection standards
        may apply and/or you may not have the same rights as you do under local law.

        When transferring data outside the EEA, we use standard contract clauses, and we rely on the
        European Commission's adequacy decisions about certain countries, as applicable, or other legally
        compliant mechanisms or conditions for such data transfer.

        We also adhere to the EU-U.S. and Swiss-U.S. Privacy Shield Program and comply with its
        framework and principles. Although the EU-U.S. Privacy Shield Program is no longer a valid basis
        for certain international data transfers, we continue to comply with the Privacy Shield framework
        and principles with respect to personal data received from the EU in addition to all other
        applicable laws.

        If you have questions or complaints regarding our compliance with the Privacy Shield principles,
        please reach out to us at privacy@discord.com. If we do not resolve your complaint, you may
        submit your complaint free of charge to JAMS. Under certain conditions specified by the Privacy
        Shield principles, you may also be able to invoke binding arbitration to resolve your complaint. We
        are subject to the investigatory and enforcement powers of the U.S. Federal Trade Commission. In
        certain circumstances, we may be liable for the transfer of personal data from the EU,
        Switzerland, or the UK to a third party outside those countries.

        For more information about the Privacy Shield principles and to view our certification, please visit
        the U.S. Department of Commerce’s Privacy Shield site.




        Services offered by third parties

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        We allow third party developers to build certain features or other services and offer them within
        the Discord services. For example, server administrators can add “bots” created by third party
        developers that provide features like content moderation and interactive games. Similarly, you may
        have access to games or activities built by third parties within the services.


        These third-party services need to follow all policies that apply to them (including often our
        Developer Terms of Service and Developer Policy). As part of these policies, we require developers
        to have a privacy policy that makes clear what they do with your information. Please review these
        privacy policies, as they describe what bots and apps may do with your information. We also
        require that certain popular bots apply for access to certain data. But because these services are
        operated by third parties, we don’t control them or what information they collect. It’s up to you
        whether to participate in a server that uses bots, and whether to engage with third-party services
        in general.




        Data Protection Officer
        You can contact Discord’s Data Protection Officer at dpo@discord.com.




        Information for EEA, United Kingdom, and
        Brazil Users
        Certain local laws, such as the European Union’s General Data Protection Regulation (GDPR) and
        Brazil’s Lei Geral de Proteção de Dados (LGPD), require services to provide information about the
        information they collect, how they use it, and the lawful basis for processing it. We’ve described
        most of that already in the earlier portions of this Policy.

        ‍Exercising your rights: You can exercise your GDPR rights as described in the “How to control
        your privacy” section above. If you encounter a problem, reach out to us at privacy@discord.com.

        Discord’s UK Representative. We’ve appointed VeraSafe as Discord’s representative in the United
        Kingdom for data protection matters, pursuant to Article 27 of the UK General Data Protection
        Regulation. See the section “Contact Us” below.You can contact VeraSafe only on matters related
        to the processing of personal data.
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        Information for California Users
        Consumers residing in California are afforded certain additional rights with respect to their
        personal information under the California Consumer Privacy Act or (“CCPA”) and the “Shine the
        Light” Law. If you are a California resident, this section applies to you.

        ‍Our collection and use of personal information: We collect the following categories of personal
        information: identifiers (such as your username, the email address you used to sign up, and your
        phone number if you’ve chosen to provide it); commercial information (a record of what you’ve
        bought from Discord, if anything); financial data (payment information and your history of
        purchases from Discord); internet or other network information (how you interact with the
        application); location information (because your IP address may indicate your general location);
        inference data about you (for example, what content you may be interested in); and other
        information that identifies or can be reasonably associated with you. For more information about
        what we collect and the sources of such collection, please see the “The information we collect”
        section above. We collect personal information for the business and commercial purposes
        described in “How we use your information” above.

        ‍Disclosure of personal information: We may share your personal information with third parties as
        described in the “How we share your information” section above. We disclose the categories of
        personal information mentioned above for business or commercial purposes.

        ‍No sale of personal information: The CCPA sets forth certain obligations for businesses that sell
        personal information. We do not sell the personal information of our users. We do share
        information as outlined in the “How we share your information” section above and you can make
        choices with respect to your information as outlined in this policy.

        Exercising your consumer rights: If you are a California resident, you have the right to request (1)
        more information about the categories and specific pieces of personal information we have
        collected and disclosed for a business purpose in the last 12 months, (2) the deletion of your
        personal information, and (3) to opt out of sales of your personal information, if applicable. Details
        on how to make these requests are in the “How to control your privacy” section above. We will not
        discriminate against you if you exercise your rights under the CCPA.


https://discord.com/terms/privacy-policy-march-2022#:~:text=We are committed to creating,on subscriptions and paid products.   15/17
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        ‍Requests received: please see this page for information on the number of data requests we have
        received.




        Changes to this Privacy Policy
        We will update this Privacy Policy from time to time. We always indicate the date the last changes
        were published, and if changes are significant, we’ll provide a more prominent notice as required
        by law, such as by emailing you or highlighting the changes within the services.




        Contact us
        Email us at privacy@discord.com with any questions about this Privacy Policy or how we process
        your information. We’ll be happy to help.

        To contact Discord’s Data Protection Officer, please email dpo@discord.com.

        You can also reach us by mail if you want. If you reside in the EEA or United Kingdom, you can
        contact us at: Discord Netherlands BV ATTN: Privacy Policy Schiphol Boulevard 195 1118BG
        Schiphol, Amsterdam (NL)

        If you reside anywhere else, you can contact us at: Discord Inc. ATTN: Privacy Policy 444 De Haro
        Street #200 San Francisco, CA 94107, USA.

        If you reside in the United Kingdom, you can also contact VeraSafe, Discord’s appointed
        representative for data protection matters related to the processing of personal data, using this
        contact form: https://verasafe.com/public-resources/contact-data-protection-representative or
        via telephone at +420 228 881 031. VeraSafe’s mailing address is:

        VeraSafe United Kingdom Ltd. 37 Albert Embankment London SE1 7TL United Kingdom




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